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                                                                                       Volvo Car USA LLC
                                                                                     7
                                                                                     8                        UNITED STATES DISTRICT COURT
                                                                                     9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                    10 JACK SCHROEDER, an individual; and No.: 2:20-cv-05127-VAP (PVC)
                                                                                       BRITNI SUMIDA, an individual,
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                                       Hon. Virginia A. Phillips
                                                                                                         Plaintiffs,
                                                                                    12       vs.                             DEFENDANT VOLVO CAR USA
                                                                                                                             LLC’S ANSWER TO PLAINTIFFS’
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                                                                                    13 VOLVO GROUP NORTH AMERICA, SECOND AMENDED
                                                                                       LLC, a Delaware limited liability     COMPLAINT; COUNTERCLAIM
                                                                                    14 company; and VOLVO CAR USA LLC, AGAINST JACK SCHROEDER
                                                                                       a Delaware limited liability company, AND BRITNI SUMIDA FOR:
                                                                                    15
                                                                                                         Defendants.         (1) DIRECT TRADEMARK
                                                                                    16                                           INFRINGEMENT;
                                                                                    17 VOLVO CAR USA LLC, a Delaware            (2) CONTRIBUTORY
                                                                                       limited liability company                    TRADEMARK
                                                                                    18                                              INFRINGEMENT;
                                                                                                           Counter-Complainant,
                                                                                    19                                          (3) VICARIOUS TRADEMARK
                                                                                             vs.                                    INFRINGEMENT;
                                                                                    20
                                                                                       JACK SCHROEDER, an individual; and (4) DIRECT TRADEMARK
                                                                                    21 BRITNI SUMIDA, an individual,                DILUTION;
                                                                                    22                     Counter-Defendants.   (5) CONTRIBUTORY
                                                                                                                                     TRADEMARK DILUTION; AND
                                                                                    23
                                                                                                                                 (6) VICARIOUS TRADEMARK
                                                                                    24                                               DILUTION
                                                                                    25                                           JURY TRIAL DEMANDED
                                                                                    26
                                                                                    27
                                                                                    28

                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                          COUNTERCLAIM
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                                                                                     1                     ANSWER TO SECOND AMENDED COMPLAINT
                                                                                     2        Defendant Volvo Cars USA LLC (“Volvo”) hereby responds to the Second
                                                                                     3 Amended Complaint (“SAC”) of Plaintiffs Jack Schroeder and Britni Sumida
                                                                                     4 (“Plaintiffs”) for itself and no other defendant as follows:
                                                                                     5        1.      Volvo is without sufficient knowledge or information to form a belief as
                                                                                     6 to the truth or falsity of the allegations set forth in Paragraph 1 and, on that basis,
                                                                                     7 Volvo denies all such allegations.
                                                                                     8        2.      Volvo is without sufficient knowledge or information to form a belief as
                                                                                     9 to the truth or falsity of the allegations set forth in Paragraph 2 and, on that basis,
                                                                                    10 Volvo denies all such allegations.
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                                                                                    11        3.      Volvo is without sufficient knowledge or information to form a belief as
                                                                                    12 to the truth or falsity of the allegations set forth in Paragraph 3 and, on that basis,
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                                                                                    13 Volvo denies all such allegations.
                                                                                    14        4.      Volvo is without sufficient knowledge or information to form a belief as
                                                                                    15 to the truth or falsity of the allegations set forth in Paragraph 4 and, on that basis,
                                                                                    16 Volvo denies all such allegations.
                                                                                    17        5.      Volvo is without sufficient knowledge or information to form a belief as
                                                                                    18 to the truth or falsity of the allegations set forth in Paragraph 5 and, on that basis,
                                                                                    19 Volvo denies all such allegations.
                                                                                    20        6.      Volvo is without sufficient knowledge or information to form a belief as
                                                                                    21 to the truth or falsity of the allegations set forth in the first sentence of Paragraph 6
                                                                                    22 and, on that basis, Volvo denies all such allegations.
                                                                                    23        7.      Volvo denies that it engaged in the unauthorized commercial exploitation
                                                                                    24 of any photographs taken by Schroeder. Volvo is without sufficient knowledge or
                                                                                    25 information to form a belief as to the truth or falsity of the remaining allegations set
                                                                                    26 forth in the first sentence of Paragraph 7 and, on that basis, Volvo denies all such
                                                                                    27 allegations.
                                                                                    28
                                                                                                                                  –1–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                     1        8.      The first sentence of Paragraph 8 states legal conclusions to which no
                                                                                     2 response is required. Volvo is without sufficient knowledge or information to form a
                                                                                     3 belief as to the truth or falsity of the remaining allegations set forth in Paragraph 8
                                                                                     4 and, on that basis, Volvo denies all such allegations.
                                                                                     5
                                                                                     6                              JURISDICTION AND VENUE
                                                                                     7        9.      Volvo does not contest the Court’s original subject matter jurisdiction
                                                                                     8 over the first claim for copyright infringement pursuant to 28 U.S.C. Sections 1331
                                                                                     9 and 1338(a)-(b). Volvo is without sufficient knowledge or information to form a
                                                                                    10 belief as to the truth or falsity of the remaining allegations set forth in the first
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 sentence of Paragraph 8 and, on that basis, Volvo denies all such allegations.
                                                                                    12        10.     Volvo does not contest that it is subject to the personal jurisdiction of this
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                                                                                    13 Court, nor does Volvo dispute that venue is proper. Volvo is without sufficient
                                                                                    14 knowledge or information to form a belief as to the truth or falsity of the remaining
                                                                                    15 allegations set forth in Paragraph 10 and, on that basis, Volvo denies all such
                                                                                    16 allegations.
                                                                                    17
                                                                                    18                                       THE PARTIES
                                                                                    19        11.     Volvo is without sufficient knowledge or information to form a belief as
                                                                                    20 to the truth or falsity of the allegations set forth in Paragraph 11 and, on that basis,
                                                                                    21 Volvo denies all such allegations.
                                                                                    22        12.     Volvo is without sufficient knowledge or information to form a belief as
                                                                                    23 to the truth or falsity of the allegations set forth in Paragraph 12 and, on that basis,
                                                                                    24 Volvo denies all such allegations.
                                                                                    25        13.     Volvo admits that Plaintiffs dismissed Volvo Group North America, LLC
                                                                                    26 from this action.
                                                                                    27
                                                                                    28
                                                                                                                                   –2–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                     1        14.    Volvo admits that it is a Limited Liability Company organized under the
                                                                                     2 laws of Delaware and headquartered in Rockleigh, New Jersey. Volvo also admits
                                                                                     3 that it manufactures and sells passenger vehicles in this district and elsewhere in the
                                                                                     4 United States. Volvo denies the remaining allegations set forth in paragraph 14.
                                                                                     5
                                                                                     6                              GENERAL ALLEGATIONS
                                                                                     7        15.    Volvo is without sufficient knowledge or information to form a belief as
                                                                                     8 to the truth or falsity of the allegations set forth in Paragraph 15 and, on that basis,
                                                                                     9 Volvo denies all such allegations.
                                                                                    10        16.    Volvo admits that the United States Copyright Office issued Copyright
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 Registration Certificate number VA0002204816 on or about May 25, 2020. Volvo is
                                                                                    12 without sufficient knowledge or information to form a belief as to the truth or falsity
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                                                                                    13 of the remaining allegations set forth in Paragraph 16 and, on that basis, Volvo denies
                                                                                    14 all such allegations.
                                                                                    15        17.    Volvo admits that Sumida participated in the photo shoot referenced in
                                                                                    16 Paragraph 17. Volvo is without sufficient knowledge or information to form a belief
                                                                                    17 as to the truth or falsity of the remaining allegations set forth in Paragraph 17 and, on
                                                                                    18 that basis, Volvo denies all such allegations.
                                                                                    19        18.    Volvo is without sufficient knowledge or information to form a belief as
                                                                                    20 to the truth or falsity of the allegations set forth in Paragraph 18 and, on that basis,
                                                                                    21 Volvo denies all such allegations.
                                                                                    22        19.    Volvo admits that an email dated May 3, 2019 from Schroeder states as
                                                                                    23 follows, in full:
                                                                                    24
                                                                                                     Hello There! My name is Jack Schroeder & I'm a commercial
                                                                                    25               photographer in Los Angeles.
                                                                                    26
                                                                                                     Recently the @VolvoCarsUSA has commented on a few of my
                                                                                    27               images on IG asking for rights to post my images on both the
                                                                                    28               Volvo website & on Instagram. While this would be awesome
                                                                                                                                 –3–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                          COUNTERCLAIM
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                                                                                     1              to have my work on the website, I cannot give my work out for
                                                                                     2              free. I was wondering if I could sell the rights to the images to
                                                                                                    recoup from some of my cost from the day as I paid for
                                                                                     3              everything out of my own pocket (car rental, model, assistant,
                                                                                     4              retouch, all production costs).

                                                                                     5              Here's a link to some of the selects from the shoot since only
                                                                                     6              some were seen on Instagram I culled down from 100 selects
                                                                                                    because we shot all day. There is some variety between both
                                                                                     7              lifestyle & automotive shots.
                                                                                     8
                                                                                                    https://www.jackschroedercreative.com/#/volvo-s60/
                                                                                     9
                                                                                    10              Please let me know if theres [sic] a deal we could work out for
                                                                                                    some rights to the images on the Volvo website. If not, please
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                                                                                    11              keep me in mind for future jobs as I would love to shoot for
                                                                                    12              Volvo.
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                                                                                    13              Best,
                                                                                    14              Jack.
                                                                                    15 Volvo is without sufficient knowledge or information to form a belief as to the truth or
                                                                                    16 falsity of the remaining allegations set forth in Paragraph 19 and, on that basis, Volvo
                                                                                    17 denies all such allegations.
                                                                                    18        20.   Volvo admits that on or about November 19, 2019, it shared the images
                                                                                    19 depicted in Paragraph 20 of the SAC in an Instagram story with a “swipe up” feature
                                                                                    20 that linked to a Volvo S60 webpage. Volvo denies the remaining allegations set forth
                                                                                    21 in Paragraph 20.
                                                                                    22        21.   Volvo admits that it re-posted images of a white Volvo S60 on its
                                                                                    23 Pinterest account that Schroeder and/or others had previously posted on public
                                                                                    24 Instagram accounts and/or on public Behance.net accounts. Volvo admits that such
                                                                                    25 photos re-posted to its Pinterest account included a link a Volvo S60 webpage. Volvo
                                                                                    26 denies that any such photos “remain[ed] available to view” on Volvo’s Pinterest
                                                                                    27 account as of July 23, 2020, and avers that Volvo removed all such photos from its
                                                                                    28
                                                                                                                                 –4–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                     1 Pinterest account on or around November 23, 2019. Volvo denies that viewers are
                                                                                     2 able to purchase an S60 from the S60 webpage linked to such photos. Volvo denies
                                                                                     3 that it posted any such photos to its Pinterest page header. Volvo denies that it
                                                                                     4 removed the Photos identified in Paragraph 21 of the SAC from its Instagram story
                                                                                     5 and avers that such photos automatically disappear 24 hours after the Instagram Story
                                                                                     6 was posted. Volvo is without sufficient knowledge or information to form a belief as
                                                                                     7 to the truth or falsity of the remaining allegations set forth in Paragraph 21 and, on
                                                                                     8 that basis, Volvo denies all such allegations.
                                                                                     9         22.   Volvo is without sufficient knowledge or information to form a belief as
                                                                                    10 to the truth or falsity of the allegations set forth in Paragraph 22 and, on that basis,
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                                                                                    11 Volvo denies all such allegations.
                                                                                    12         23.   Volvo admits that an email sent by Schroeder dated November 20, 2019,
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                                                                                    13 states as follows, in full:
                                                                                    14
                                                                                                      Hey there Amanda,
                                                                                    15
                                                                                    16                My name is Jack Schroeder and I’m an automotive advertising
                                                                                                      photographer. I’m reaching out because yesterday on
                                                                                    17                Instagram the @VolvoCarsUSA page had posted images of
                                                                                    18                mine from a personal test shoot
                                                                                                      <https://eur02.safelinks.protection.outlook.com/?url=https%3
                                                                                    19                A%2F%2Fwww.jackschroedercreative.com
                                                                                    20                %2F%23%2Fvolvo-s60-
                                                                                                      1%2F&data=02%7C01%7Cerin.silver%40volvocars.com%7C
                                                                                    21                6e3f1a7a53a24568820508d76f52991f%7C81fa766ea3494867
                                                                                    22                8bf4ab35e250a08f%7C0%7C0%7C637100272899758904&sd
                                                                                                      ata=Dt0o58jE951laU54w2zVWP%2FcVQNUYjuM4Q9br99P
                                                                                    23                GDk%3D&reserved=0> on their story as a social
                                                                                    24                advertisement campaign for the S60 with a swipe up feature to
                                                                                                      the volvo website. The Volvo IG page had reached out to me
                                                                                    25                twice about posting my photos to both their IG page and the
                                                                                    26                website, but I never gave consent (screen shots attached).
                                                                                                      When I reached out to the Volvo marketing team back in May
                                                                                    27                about usage of the photos or purchasing them, they never got
                                                                                    28                back to me. Some of the new images that went up yesterday
                                                                                                                                  –5–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                     1               can only be found on my Behance page
                                                                                     2               <https://eur02.safelinks.protection.outlook.com/?url=https%3
                                                                                                     A%2F%2Fwww.behance.net%2Fgallery%2F88062123%2FVo
                                                                                     3               lvo-S60-
                                                                                     4               California&data=02%7C01%7Cerin.silver%40volvocars.com
                                                                                                     %7C6e3f1a7a53a24568820508d76f52991f%7C81fa766ea349
                                                                                     5               48678bf4ab35e250a08f%7C0%7C0%7C63710027289975890
                                                                                     6               4&sdata=KgghJGmtYrX6b%2FCbnt%2FDYzCvrSQdSWwK
                                                                                                     Bf3dovT75Rw%3D&reserved=0> so I’m curious where your
                                                                                     7               internal team pulled my photos from.
                                                                                     8
                                                                                                     If the images used only had the car in the frame with
                                                                                     9               unrecognizable talent, I honestly would have been happy to
                                                                                    10               sign off limited rights with hopes of working with Volvo in the
                                                                                                     future for a real campaign. But because the images posted by
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                                                                                    11               @VolvoCarsUSA featured female talent that is currently in an
                                                                                    12               exclusivity contract with a specific automotive brand, her
                                                                                                     modeling agency is not happy about the situation. As a test
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                                                                                    13               shoot, this is acceptable for me to post, but for a brand to post
                                                                                    14               the images as an online social campaign, it puts her career in
                                                                                                     jeopardy.
                                                                                    15
                                                                                    16               I would like to ask that the images with talent not be posted
                                                                                                     moving forward, as that puts me in a bad spot with the female
                                                                                    17               talents modeling agency. However, I truly would love to be
                                                                                    18               considered as a photographer for any future Volvo campaigns.
                                                                                                     I am actually in the works right now of setting up another test
                                                                                    19               shoot for my book and was trying to rent a 2020 XC90 from
                                                                                    20               Turo for the shoot. As I usually pay out of pocket producing
                                                                                                     these shoots, do you think there’s any way I could get the keys
                                                                                    21               to a press car to make up for this situation?
                                                                                    22
                                                                                    23 Volvo is without sufficient knowledge or information to form a belief as to the truth or
                                                                                    24 falsity of the remaining allegations set forth in Paragraph 23 and, on that basis, Volvo
                                                                                    25 denies all such allegations.
                                                                                    26        24.    Volvo admits that the following emails dated November 22, 2019
                                                                                    27 (reproduced in full below), were exchanged with Schroeder:
                                                                                    28
                                                                                                                                 –6–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                          COUNTERCLAIM
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                                                                                     1        Schroeder:
                                                                                     2
                                                                                                    Hey Erin,
                                                                                     3
                                                                                     4              I reached out to Amanda & never heard back about this
                                                                                                    situation. The Volvo IG gave me both of your emails when I
                                                                                     5              messaged them. Please read my original email to her below.
                                                                                     6              Could you forward this to the right person at Volvo for me? I
                                                                                                    don’t want this swept under the rug.
                                                                                     7
                                                                                              Volvo:
                                                                                     8
                                                                                                    Hi Jack,
                                                                                     9
                                                                                    10              Thanks for looping me in and letting us know. These will not be
                                                                                                    used moving forward. We will also review the process with
                 A limited liability partnership formed in the State of Delaware




                                                                                    11              our tool that requests content usage permission.
                                                                                    12
                                                                                                    Appreciate your flagging this and we love you’re beautiful
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                                                                                    13              imagery but will be more cautious and have an open line of
                                                                                    14              communication when interested in sharing in the future.
                                                                                    15              Have a lovely weekend.
                                                                                    16
                                                                                                    Kind regards,
                                                                                    17              Erin
                                                                                    18
                                                                                              Schroeder:
                                                                                    19
                                                                                    20              Hey Erin,

                                                                                    21              Thanks for the quick reply. Is there any way in mind Volvo
                                                                                    22              could make up for this situation? Compensation and access to a
                                                                                                    press fleet car for a test shoot? The model is really upset about
                                                                                    23              this situation and I need to make up for it with her somehow. I
                                                                                    24              spent thousands of dollars out of my own pocket to produce this
                                                                                                    shoot and Volvo did use the images for a social campaign with
                                                                                    25              talent and no rights to the images. I really don’t want to be
                                                                                    26              taken advantage of here nor do I want to sour this relationship
                                                                                                    and get a lawyer involved because I would really love to shoot
                                                                                    27              for Volvo moving forward.
                                                                                    28
                                                                                                                                –7–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                     1                Let me know what you have in mind.
                                                                                     2                Thanks,
                                                                                                      Jack
                                                                                     3
                                                                                                Volvo:
                                                                                     4
                                                                                     5                Jack, just to clarify there was no advertising campaign... we
                                                                                                      reshared your instagrams in our stories while crediting you
                                                                                     6                which is a customary UGC practice for Instagram and social
                                                                                     7                media in general. They are not live on our channels in
                                                                                                      perpetuity nor was any paid promotion applied to your content.
                                                                                     8
                                                                                     9                We think you do beautiful work and commend your
                                                                                                      photography skills. We of course don’t want you to feel taken
                                                                                    10                advantage of so it won’t happen again.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                                      As your images were shared to Instagram stories they were live
                                                                                    12                for 24 hours and are no longer live on our channels. Moving
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                                                                                    13                forward, we will not share any of your content on our channels.
                                                                                    14                Have a nice weekend.
                                                                                    15                Erin
                                                                                    16 Volvo is without sufficient knowledge or information to form a belief as to the truth or
                                                                                    17 falsity of the remaining allegations set forth in Paragraph 24 and, on that basis, Volvo
                                                                                    18 denies all such allegations.
                                                                                    19          25.   Volvo denies the allegations set forth in Paragraph 25.
                                                                                    20          26.   Volvo admits that Plaintiffs’ counsel sent Volvo a cease and desist letter
                                                                                    21 dated January 27, 2020, and avers that the response from Volvo’s legal counsel, a
                                                                                    22 letter    dated   March    6,   2020,   conspicuously    is   marked     “PRIVILEGED
                                                                                    23 SETTLEMENT COMMUNICATION FRE 408” (emphasis and red font in
                                                                                    24 original) and thus constitutes a legally privileged settlement communication pursuant
                                                                                    25 to Federal Rules of Evidence Rule 408. Despite Plaintiffs’ improper reference thereto,
                                                                                    26 Volvo is unable to respond to the allegations concerning the substance of its March 6,
                                                                                    27
                                                                                    28
                                                                                                                                  –8–
                                                                                         DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1 2020, settlement communication and, on that basis, Volvo denies the remaining
                                                                                      2 allegations set forth in Paragraph 26.
                                                                                      3        27.    Volvo admits that the parties continued to engage in legally privileged
                                                                                      4 settlement communications through their legal counsel after March 6, 2020. Volvo
                                                                                      5 admits that its legal counsel sent a letter addressed to Andrew Schneider and Porch
                                                                                      6 House, dated May 22, 2020, concerning their unauthorized use Volvo’s trademarks
                                                                                      7 and other violations of Volvo’s rights under federal and state law. Volvo denies the
                                                                                      8 remaining allegations set forth in Paragraph 27 and avers that the May 22, 2020 letter
                                                                                      9 is the best evidence of its contents.
                                                                                    10         28.    Volvo denies the allegations set forth in Paragraph 28 and avers that the
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                                                                                    11 May 22, 2020 letter is the best evidence of its contents.
                                                                                    12         29.    Volvo denies the allegations set forth in Paragraph 29.
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                                                                                    13         30.    Volvo denies the allegations set forth in Paragraph 30.
                                                                                    14         31.    Volvo admits that it shared the photographs depicted in Paragraph 20 of
                                                                                    15 the SAC to its Instagram story and its Pinterest page.          Volvo denies that such
                                                                                    16 photographs were part of any advertising campaign.              Volvo denies that the
                                                                                    17 photographs were chosen as the main header for Volvo’s Pinterest page. Volvo is
                                                                                    18 without sufficient knowledge or information to form a belief as to the truth or falsity
                                                                                    19 of the remaining allegations set forth in Paragraph 31 and, on that basis, Volvo denies
                                                                                    20 all such allegations.
                                                                                    21         32.    Volvo denies the allegations set forth in Paragraph 32.
                                                                                    22         33.    Volvo denies the allegations set forth in Paragraph 33.
                                                                                    23         34.    Volvo is without sufficient knowledge or information sufficient to form a
                                                                                    24 belief as to the truth or falsity of the remaining allegations set forth in Paragraph 34
                                                                                    25 and, on that basis, Volvo denies all such allegations.
                                                                                    26         35.    Volvo denies the allegations set forth in Paragraph 35.
                                                                                    27         36.    Volvo denies the allegations set forth in Paragraph 36.
                                                                                    28
                                                                                                                                  –9–
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1        37.   Volvo denies the allegations set forth in Paragraph 37.
                                                                                      2        38.   Volvo denies the allegations set forth in Paragraph 38.
                                                                                      3        39.   Volvo denies the allegations set forth in Paragraph 39.
                                                                                      4        40.   Volvo denies the allegations set forth in Paragraph 40.
                                                                                      5
                                                                                      6                  First Claim for Relief for Copyright Infringement
                                                                                      7                             (By Schroeder against Volvo)
                                                                                      8        41.   Volvo hereby incorporates its responses to paragraphs 1-40 in response to
                                                                                      9 Paragraph 41.
                                                                                    10         42.   Volvo admits that on or about May 25, 2020, the United States Copyright
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                                                                                    11 Office issued a Certificate of Copyright Registration to Schroeder, bearing registration
                                                                                    12 number VA0002204816, corresponding to a group of eleven photographs titled
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                                                                                    13 “Desert Shoot.” Volvo is without sufficient knowledge or information to form a
                                                                                    14 belief as to the truth or falsity of the remaining allegations set forth in Paragraph 43
                                                                                    15 and, on that basis, Volvo denies all such allegations.
                                                                                    16         43.   Volvo denies the allegations set forth in Paragraph 43.
                                                                                    17         44.   Volvo denies the allegations set forth in Paragraph 44.
                                                                                    18         45.   Volvo denies the allegations set forth in Paragraph 45.
                                                                                    19         46.   Volvo denies the allegations set forth in Paragraph 46.
                                                                                    20         47.   Volvo denies the allegations set forth in Paragraph 47.
                                                                                    21 / / /
                                                                                    22 / / /
                                                                                    23 / / /
                                                                                    24 / / /
                                                                                    25 / / /
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                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1        Second Claim for Relief for Unfair Competition under section 43(a) of the
                                                                                      2                            Lanham Act (15. U.S.C. § 1125(1).
                                                                                      3                                (By Sumida against Volvo)
                                                                                      4          48.   Volvo hereby incorporates its responses to paragraphs 1-40 and 42-47 in
                                                                                      5 response to Paragraph 48.
                                                                                      6          49.   Volvo is without sufficient knowledge or information to form a belief as
                                                                                      7 to the truth of the allegations forth in Paragraph 49 of the SAC, including that
                                                                                      8 “members of the public have come to recognize Sumida’s likeness as belonging to
                                                                                      9 her,” and “Sumida is in the business of commercializing her identity and selling her
                                                                                    10 images to reputable brands and companies for profit” and, on that basis, Volvo denies
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                                                                                    11 all such allegations.
                                                                                    12           50.   Volvo is without sufficient knowledge or information to form a belief as
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                                                                                    13 to the truth or falsity of the allegations set forth in Paragraph 50 and, on that basis,
                                                                                    14 Volvo denies all such allegations.
                                                                                    15           51.   Volvo denies the allegations set forth in Paragraph 51.
                                                                                    16           52.   Volvo denies the allegations set forth in Paragraph 52.
                                                                                    17           53.   Volvo denies the allegations set forth in Paragraph 53.
                                                                                    18           54.   Volvo denies the allegations set forth in Paragraph 54.
                                                                                    19           55.   Volvo denies the allegations set forth in Paragraph 55.
                                                                                    20           56.   Volvo denies the allegations set forth in Paragraph 56.
                                                                                    21           57.   Volvo denies the allegations set forth in Paragraph 57.
                                                                                    22           58.   Volvo denies the allegations set forth in Paragraph 58.
                                                                                    23 / / /
                                                                                    24 / / /
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                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1    Third Claim for Relief for Unfair Competition under California Business and
                                                                                      2                          Professions Code §§ 17200, et seq.
                                                                                      3                              (By Sumida against Volvo)
                                                                                      4        59.   Volvo hereby incorporates its responses to paragraphs 1-40, 42-47 and
                                                                                      5 49-58 in response to Paragraph 59.
                                                                                      6        60.   Volvo denies the allegations set forth in Paragraph 60.
                                                                                      7        61.   Volvo denies the allegations set forth in Paragraph 61.
                                                                                      8        62.   Volvo denies the allegations set forth in Paragraph 62.
                                                                                      9        63.   Volvo denies the allegations set forth in Paragraph 63.
                                                                                    10         64.   Volvo denies the allegations set forth in Paragraph 64.
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                                                                                    11         65.   Volvo denies the allegations set forth in Paragraph 65.
                                                                                    12         66.   Volvo denies the allegations set forth in Paragraph 66.
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                                                                                    13
                                                                                    14 Fourth Claim for Relief for Unfair Competition under California Common Law.
                                                                                    15                               (By Sumida against Volvo)
                                                                                    16         67.   Volvo hereby incorporates its responses to paragraphs 1-40, 42-47, 49-58
                                                                                    17 and 60- 66 in response to Paragraph 67.
                                                                                    18         68.   Volvo denies the allegations set forth in Paragraph 68.
                                                                                    19         69.   Volvo denies the allegations set forth in Paragraph 69.
                                                                                    20
                                                                                    21          Fifth Claim for Relief for Violation of California Civil Code § 3344.
                                                                                    22                               (By Sumida against Volvo)
                                                                                    23         70.   Volvo hereby incorporates its responses to paragraphs 1-40, 42-47, 49-
                                                                                    24 58, 60-66 and 68-69 in response to Paragraph 70.
                                                                                    25         71.   Volvo admits that Paragraph 70 sets forth the provisions of California
                                                                                    26 Civil Code § 3344(a).
                                                                                    27         72.   Volvo denies the allegations set forth in Paragraph 72.
                                                                                    28
                                                                                                                                 – 12 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1        73.   Volvo denies the allegations set forth in Paragraph 73.
                                                                                      2        74.   Volvo denies the allegations set forth in Paragraph 74.
                                                                                      3        75.   Volvo denies the allegations set forth in Paragraph 75.
                                                                                      4        76.   Volvo denies the allegations set forth in Paragraph 76.
                                                                                      5
                                                                                      6      Sixth Claim for Relief for Misappropriation of Likeness under California
                                                                                      7                                    Common Law.
                                                                                      8                              (By Sumida against Volvo)
                                                                                      9        77.   Volvo hereby incorporates its responses to paragraphs 1-40, 42-47, 49-
                                                                                    10 58, 60-66, 68-69 and 71-76 in response to Paragraph 77.
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                                                                                    11         78.   Volvo denies the allegations set forth in Paragraph 78.
                                                                                    12         79.   Volvo denies the allegations set forth in Paragraph 79.
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                                                                                    13         80.   Volvo denies the allegations set forth in Paragraph 80.
                                                                                    14
                                                                                    15                                        PRAYER
                                                                                    16         Volvo denies the allegations and the relief set forth in Plaintiffs’ Prayer,
                                                                                    17 including as sought in paragraphs 1-10 of their Prayer, or otherwise.
                                                                                    18
                                                                                    19                             AFFIRMATIVE DEFENSES
                                                                                    20         Volvo alleges the following as separate and affirmative defenses to the SAC.
                                                                                    21 By virtue of having listed the following defenses, Volvo does not assume any legal or
                                                                                    22 factual burden not otherwise assigned to it under the law.
                                                                                    23
                                                                                    24                          FIRST AFFIRMATIVE DEFENSE
                                                                                    25                                 (Failure to State a Claim)
                                                                                    26         1.    The SAC, and each purported claim for relief pleaded therein, fails to
                                                                                    27 state a claim upon which relief can be granted.
                                                                                    28
                                                                                                                                – 13 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1                         SECOND AFFIRMATIVE DEFENSE
                                                                                      2                                         (Waiver)
                                                                                      3         2.   The SAC, and each purported claim for relief asserted therein, is barred
                                                                                      4 in whole or in part by the doctrine of waiver.
                                                                                      5                          THIRD AFFIRMATIVE DEFENSE
                                                                                      6                                        (Estoppel)
                                                                                      7        3.    The SAC, and each purported claim for relief asserted therein, is barred
                                                                                      8 in whole or in part by the doctrine of estoppel.
                                                                                      9                        FOURTH AFFIRMATIVE DEFENSE
                                                                                    10                                      (Unclean Hands)
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                                                                                    11         4.    The SAC, and each purported claim for relief asserted therein, is barred
                                                                                    12 in whole or in part by the doctrine of unclean hands.
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                                                                                    13                           FIFTH AFFIRMATIVE DEFENSE
                                                                                    14                              (License/Authorization/Consent)
                                                                                    15         5.    Plaintiffs and each of them expressly and/or implicitly licensed,
                                                                                    16 authorized, and/or gave their consent to third parties, including Volvo, to share and/or
                                                                                    17 publish the photographs identified in the SAC.
                                                                                    18                           SIXTH AFFIRMATIVE DEFENSE
                                                                                    19                                    (Failure to Mitigate)
                                                                                    20         6.    Plaintiffs and each of them have failed to take reasonable measures to
                                                                                    21 mitigate the damages allegedly suffered by them, if any, as a consequence of the acts
                                                                                    22 allegedly committed by Volvo and, therefore, any such damages must be reduced or
                                                                                    23 eliminated in accordance with the degree to which any such damages could have been
                                                                                    24 avoided by reasonable effort on the part of Plaintiffs to mitigate same.
                                                                                    25                         SEVENTH AFFIRMATIVE DEFENSE
                                                                                    26                                    (Others Responsible)
                                                                                    27         7.    Plaintiffs’ alleged injuries or damages, if any, were proximately caused
                                                                                    28
                                                                                                                                 – 14 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1 in whole or in part, by the acts, omissions, negligence, neglect, or other wrongful acts
                                                                                      2 of parties, persons, entities, or corporations other than Volvo, and Plaintiffs’ recovery
                                                                                      3 against Volvo, if any, must be reduced or precluded entirely by such activities of such
                                                                                      4 other parties, persons, entities, or corporations.
                                                                                      5                          EIGHTH AFFIRMATIVE DEFENSE
                                                                                      6                                     (Offset/Reduction)
                                                                                      7        8.     Any damages award is subject to offset and/or reduction for the amount
                                                                                      8 that Plaintiffs owe Volvo based on Volvo’s counterclaim.
                                                                                      9                          NINTH AFFIRMATIVE DEFENSE
                                                                                    10                                         (Preemption)
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                                                                                    11         9.     Sumida’s claims are barred in whole or in part because they are
                                                                                    12 preempted by the Copyright Act.
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                                                                                    13                           TENTH AFFIRMATIVE DEFENSE
                                                                                    14                                           (Fair Use)
                                                                                    15         10.    The SAC, and each purported claim for relief asserted therein, is barred
                                                                                    16 in whole or in part because Volvo’s use of any photographs taken by Schroeder
                                                                                    17 constitutes “fair use.”
                                                                                    18          RIGHT TO ASSERT ADDITIONAL AFFIRMATIVE DEFENSES
                                                                                    19                               (Reservation of Right to Amend)
                                                                                    20         11.    Volvo reserves the right to amend this answer and assert additional
                                                                                    21 affirmative defenses based on facts obtained through investigation and/or discovery.
                                                                                    22
                                                                                    23                   COUNTERCLAIMS BY VOLVO CARS USA LLC
                                                                                    24         Pursuant to Rule 13 of the Federal Rule of Civil Procedure, Volvo Cars USA
                                                                                    25 LLC (“Volvo”) alleges its Counterclaims against Plaintiffs and Counter-Defendants
                                                                                    26 Jack Schroeder (“Schroeder”) and Britni Sumida (“Sumida”) as follows:
                                                                                    27
                                                                                    28
                                                                                                                                   – 15 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1                                   INTRODUCTION
                                                                                      2        1.    Schroeder, a professional commercial automotive photographer, creates
                                                                                      3 highly stylized images of sports cars and luxury automobiles for a living. In April
                                                                                      4 2019, Schroeder teamed up with a company that produces automotive-industry
                                                                                      5 advertisements (Porch House Pictures) and a professional model (Counter-Defendant
                                                                                      6 Sumida) to create professional-quality still photographs and videos featuring Volvo’s
                                                                                      7 recently debuted, completely re-designed, third-generation 2019 S60 Sedan.
                                                                                      8        2.    Schroeder (with Sumida’s permission or at her direction), captured these
                                                                                      9 still images of Sumida and the Volvo S60, shared them on his social media pages, and
                                                                                    10 tagged Sumida, Porch House, Volvo, and Volvo S60. Schroeder and Sumida also
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                                                                                    11 authorized and/or directed Porch House to publicly publish still and video images of
                                                                                    12 Sumida and the Volvo S60, tag them in the posts, and publicly represent (falsely) that
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                                                                                    13 such images were part of a social media advertising campaign for the Volvo S60 that
                                                                                    14 they were engaged to create for Volvo Cars.
                                                                                    15         3.    Schroeder and Sumida were fully aware that Volvo had not
                                                                                    16 commissioned or authorized them to create, publish or use images of its recently
                                                                                    17 revamped vehicle in any such manner or for commercial purposes. Schroeder and
                                                                                    18 Sumida nevertheless seized the opportunity to take advantage of the excitement
                                                                                    19 surrounding the arrival of the 2019 Volvo S60 and trade on Volvo’s brand and
                                                                                    20 goodwill for their own personal gain by publishing and directing Porch House to
                                                                                    21 publish images of the vehicle in a manner that intentionally (and falsely) represented
                                                                                    22 to the public and their prospective automotive-industry business partners that Volvo
                                                                                    23 had hired them to create social media advertisements to coincide with the release of
                                                                                    24 the 2019 S60 Sedan, all without regard for Volvo’s rights or interests.
                                                                                    25                             JURISDICTION AND VENUE
                                                                                    26         4.    This Court has original subject matter jurisdiction over this action and the
                                                                                    27 claims asserted herein, pursuant to 28 U.S.C. Sections 1331 (“federal question
                                                                                    28
                                                                                                                                 – 16 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1 jurisdiction”) and 1338(a)-(b) (“[P]atent, copyright, trademark and unfair competition
                                                                                      2 jurisdiction”) in that this action arises under the laws of the United States and, more
                                                                                      3 specifically, Acts of Congress relating to trademarks.            This Court also has
                                                                                      4 supplemental jurisdiction pursuant to 28 U.S.C. Section 1367(a) as this Counterclaim
                                                                                      5 arises out of the same transaction or occurrence as the allegations in Plaintiffs’ Second
                                                                                      6 Amended Complaint.
                                                                                      7        5.    Defendants are subject to the personal jurisdiction of the Court because
                                                                                      8 they are residents of California and because they have consented to the jurisdiction of
                                                                                      9 this Court by filing their Second Amended Complaint. Venue is appropriate because
                                                                                    10 it is the venue chosen by Plaintiffs.
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                                                                                    11                                      THE PARTIES
                                                                                    12         6.    Volvo is a limited liability company organized under the laws of
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                                                                                    13 Delaware that is headquartered in Rockleigh, New Jersey.            Volvo manufactures,
                                                                                    14 markets, and sells automobiles in the United States.
                                                                                    15         7.    Upon information and belief, Jack Schroeder is a professional
                                                                                    16 photographer who specializes in automotive photography.             He is a citizen of
                                                                                    17 California and a resident of Los Angeles County.
                                                                                    18         8.    Upon information and belief, Britni Sumida is a professional model who
                                                                                    19 is a citizen of California and a resident of Los Angeles County.
                                                                                    20                              GENERAL ALLEGATIONS
                                                                                    21 June 2018: Volvo Announces its Third-Generation, Completely Redesigned 2019
                                                                                         S60 Luxury Sports Sedan Will be the First Volvo Built in its New U.S. Plant.
                                                                                    22
                                                                                    23         9.    In May 2015, Volvo announced plans to build its first United States
                                                                                    24 manufacturing plant in Ridgeville, South Carolina. When the plant officially opened
                                                                                    25 three years later in June 2018, Volvo chose the occasion to reveal images of its
                                                                                    26 upcoming, third-generation 2019 S60 Sedan and announce that the completely
                                                                                    27
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                                                                                      1 redesigned vehicle would be built entirely within its brand-new $1.1 billion, state of
                                                                                      2 the art U.S. production facility.
                                                                                      3          November 2018 - April 2019: Volvo’s All-New 2019 S60 Sedan Arrives at
                                                                                                                Dealerships and Receives Rave Reviews
                                                                                      4
                                                                                      5            10.   The debut of the new S60 was eagerly anticipated in the marketplace due
                                                                                      6 to the historical success of the S60 line and also because the 2019 S60 Sedan was the
                                                                                      7 last model in Volvo’s fleet to undergo a complete makeover. Like its earlier updated
                                                                                      8 cousins, Volvo stacked the new S60 with industry-leading safety features and sculpted
                                                                                      9 it with younger, style-conscious consumers in mind. As Car and Drive Magazine
                                                                                    10 noted, “with each succeeding new model—the latest generation of the XC40, XC60,
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                                                                                    11 and XC90 SUVs and the S90 sedan and V90 wagon—Volvo has been pushing its
                                                                                    12 image further away from stoic and safety conscious and closer to design forward. In
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                                                                                    13 fact, the brand is already there, and the S60 puts an exclamation point on that effort.”1
                                                                                    14             11.   Consumer Reports described the changes to 2019 Volvo S60 as follows:
                                                                                    15
                                                                                    16                   Breaking from the styling constraints of other models in the
                                                                                                         Volvo showroom, the new S60 marks a bold departure from the
                                                                                    17                   outgoing 2018 sedan. Where the old model had simple surfaces,
                                                                                    18                   the new car has some welcome curve.

                                                                                    19             12.   The 2019 S60 quickly received rave reviews from leading automotive-
                                                                                    20 industry publications. For example:
                                                                                    21                   a)    Car and Drive Magazine noted that “the S60’s cabin looks a lot
                                                                                    22                         like that of every recent Volvo—which is to say, beautiful” and
                                                                                    23                         found that the Volvo S60 matched or beat the performance of
                                                                                    24                         Volvo’s competitors- the Audi A4, the BMW 3-series, and the
                                                                                    25                         Mercedes-Benz C-class;
                                                                                    26
                                                                                    27    1
                                                                                        See https://www.caranddriver.com/reviews/a26145842/2019-volvo-s60-t6-by-the-
                                                                                    28 numbers/
                                                                                                                            – 18 –
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                                                                                      1              b)    Automobile Magazine observed that “Volvo has been turning out
                                                                                      2                    some incredibly handsome vehicles of late, and one of the most
                                                                                      3                    classically attractive is the new-for-2019 S60 sedan”            and
                                                                                      4                    concluded that “this is a machine that's beautifully executed and
                                                                                      5                    outfitted to support the vast majority of drivers in security and
                                                                                      6                    style;” and
                                                                                      7              c)    As MotorTrend Magazine exclaimed, “Volvo has been on a tear
                                                                                      8                    since it earned 2016 SUV of the Year honors with the XC90. By
                                                                                      9                    offering consistent avant-garde styling, safety, and value,
                                                                                    10                     everything it's sent since ends up in the finalist category. The 2019
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                                                                                    11                     Volvo S60 sedan and V60 wagon keep the ball rolling in an
                                                                                    12                     incredibly competitive segment.”
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                                                                                    13         13.   When the auto industry handed out its awards for 2019, the new S60 also
                                                                                    14 received significant recognition. For example:
                                                                                    15               a)    The 2019 S60 was named a finalist for the 2019 North American
                                                                                    16                     Car of the Year Award;
                                                                                    17               b)    The 2019 S60 won the 2019 MotorWeek Drivers’ Choice Award
                                                                                    18                     for Best Sport Sedan;
                                                                                    19               c)    The 2019 S60 was named a finalist for the 2019 World Car
                                                                                    20                     Awards; and
                                                                                    21               d)    The 2019 S60 was chosen as IntelliChoice’s 2019 Best Overall
                                                                                    22                     Value of the Year.
                                                                                    23         14.   Not surprisingly, the newly launched 2019 Volvo S60 became one of
                                                                                    24 Volvo’s top-selling cars in the first quarter of 2019.
                                                                                    25 / / /
                                                                                    26 / / /
                                                                                    27 / / /
                                                                                    28
                                                                                                                                 – 19 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1 Early April 2019: Schroeder Captures Stunning Images of Sumida with the New
                                                                                          S60 Sedan Surrounded by Fields of California “Super-Bloom” Wildflowers
                                                                                      2
                                                                                      3        15.   Upon information and belief, in or around early April 2019, Schroeder
                                                                                      4 entered into a professional association, collaboration and joint venture with Porch
                                                                                      5 House Pictures (“Porch House”), a Southern California-based video production
                                                                                      6 company that, among other things, produces advertisements for high-end automobile
                                                                                      7 brands, including Audi, Aston Marin, BMW, Jaguar, and Land Rover.
                                                                                      8        16.   As further alleged below, several months after their joint business
                                                                                      9 venture, association and professional collaboration commenced, Porch House
                                                                                    10 announced that Schroeder had become a “new member of the [Porch House] family”
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                                                                                    11 and stated that “[h]e specializes in automotive, and we’re stoked to start releasing
                                                                                    12 some of the projects we’ve been collaborating on. Check back soon to see more from
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                                                                                    13 Jack in the near future.” Embracing the relationship, Schroeder referred to Porch
                                                                                    14 House as his “business partner” in subsequent communications with Volvo.
                                                                                    15         17.   Upon information and belief, in early April 2019, Schroeder, Sumida,
                                                                                    16 and a Porch House video crew transported a brand-new white 2019 Volvo S60 Sedan
                                                                                    17 to a remote Southern California desert area in Anza Valley, California enveloped in
                                                                                    18 “super-bloom” wild flowers.        There, without Volvo’s knowledge or consent,
                                                                                    19 Schroeder, Sumida, and the video crew spent the entire day capturing stunning video
                                                                                    20 and still images of 2019 Volvo S60 (the “Super-Bloom Shoot”).
                                                                                    21         18.   Upon information and belief, the Super-Bloom Shoot was created as part
                                                                                    22 of the professional association, collaboration and joint business venture Schroeder had
                                                                                    23 formed with Porch House.
                                                                                    24         19.   Upon information and belief, in all regards concerning or related to the
                                                                                    25 Super-Bloom Shoot, including the use and publication of the images created
                                                                                    26 therefrom, Sumida, Schroeder and Porch House were partners, joint venturers, or
                                                                                    27 agents/employees of each other, and/or were acting in concert with each other. Upon
                                                                                    28
                                                                                                                                – 20 –
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                                                                                      1 information and belief, in doing the acts alleged herein below, Sumida, Schroeder and
                                                                                      2 Porch House were acting within the scope of such partnership, joint venture and/or
                                                                                      3 agency, and at all times relevant herein, Sumida, Schroeder and Porch House had
                                                                                      4 actual or ostensible authority to act on each other’s behalf in engaging in the conduct
                                                                                      5 alleged below.
                                                                                      6        20.   Upon information and belief, Schroeder paid the production costs of the
                                                                                      7 Super-Bloom Shoot in whole or in part and captured still images of the Volvo S60;
                                                                                      8 Sumida furnished her modeling services; and Porch House provided the video
                                                                                      9 equipment, the production crew, the director, and the editing services.
                                                                                    10  Mid-April 2019 – November 2019: Schroeder and Sumida Trade On Volvo’s
                                                                                       Brand and Goodwill and Falsely Represent that Volvo Engaged Them to Create
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                                                                                    11         a Social Media Advertising Campaign for the 2019 S60 Sedan
                                                                                    12         21.   On or about April 16, 2019, Porch House published a video on
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                                                                                    13 Vimeo.com, a public content platform similar to YouTube, entitled “Volvo Presents
                                                                                    14 Bloom - A Porch House Film,” (the “Volvo – Bloom Video”). The Volvo – Bloom
                                                                                    15 Video which, upon information and belief, is comprised entirely of images from the
                                                                                    16 Super-Bloom Shoot, prominently depicts Sumida posing with the white 2019 Volvo
                                                                                    17 S60. At its conclusion, the Volvo – Bloom Video displays a full-frame shot of
                                                                                    18 Volvo’s internationally famous, trademark-protected circular logo:
                                                                                    19
                                                                                    20
                                                                                    21
                                                                                    22
                                                                                    23
                                                                                    24
                                                                                    25 In addition, the Volvo – Bloom Video posted publicly on Vimeo includes “#Volvo
                                                                                    26 S60” and “#Britni Sumida” among its “hashtags.” Upon information and belief,
                                                                                    27 Schroeder and Sumida approved the images depicted in and the title of the Volvo –
                                                                                    28
                                                                                                                                 – 21 –
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                                                                                      1 Bloom Video. Upon information and belief, and the Volvo – Bloom Video was
                                                                                      2 published on Vimeo.com with the knowledge, consent and/or authorization of
                                                                                      3 Schroeder and Sumida, and/or at their direction.
                                                                                      4        22.   On or about April 22, 2019, Schroeder posted photos from the Super-
                                                                                      5 Bloom Shoot to a Behance.net gallery that he created which included several picture
                                                                                      6 in which Sumida posed with the Volvo S60 Sedan, and in which Volvo’s trademarked
                                                                                      7 logo was prominently featured. Schroeder tagged Porch House, Volvo, and Volvo
                                                                                      8 S60 in the gallery, and thus anybody searching for these terms on Behance would
                                                                                      9 discover Schroeder’s gallery.
                                                                                    10         23.   The next day, on or about April 23, 2019, the Volvo – Bloom Video was
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                                                                                    11 posted on a Porch House-related public Instagram account. Upon information and
                                                                                    12 belief, the Volvo – Bloom Video was posted on this public Instagram account with the
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                                                                                    13 knowledge, consent and authorization of Schroeder and Sumida, and/or at their
                                                                                    14 direction. Both Schroeder and Sumida were tagged in the post, along with the hashtag
                                                                                    15 “# Volvo S60.”      By so tagging Schroeder, Sumida and Volvo S60 in the post,
                                                                                    16 Schroeder and Sumida not only were notified of the post; Schroeder and Sumida also
                                                                                    17 were aware that the Volvo – Bloom Video Instagram post falsely represented to
                                                                                    18 members of the public—including Volvo’s actual and prospective customer base,
                                                                                    19 Volvo’s competitors and others in the automotive industry—that Volvo had
                                                                                    20 authorized, created, approved, sponsored, endorsed, and/or was the source or origin
                                                                                    21 of, the Volvo – Bloom Video, and/or that Volvo had engaged Schroeder and Sumida
                                                                                    22 professionally to create a social campaign to introduce its new 2019 S60 Sedan to
                                                                                    23 Volvo’s current and prospective customers. Upon information and belief, neither
                                                                                    24 Schroeder nor Sumida ever objected to the foregoing Instagram post. To the contrary,
                                                                                    25 upon information and belief, both Schroeder and Sumida “liked” the post, thus
                                                                                    26 signaling to members of the public and their prospective business relations in the
                                                                                    27 automotive industry, albeit falsely, that they had been hired by Volvo to create a social
                                                                                    28
                                                                                                                                – 22 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1 campaign for the new 2019 S60 Sedan. Upon information and belief, Schroeder and
                                                                                      2 Sumida acted in this manner for their own personal gain to capitalize on the attention
                                                                                      3 and publicity surrounding Volvo’s introduction of its redesigned 2019 S60 Sedan.
                                                                                      4        24.   On or about April 23, 2019, in addition to posting the Volvo – Bloom
                                                                                      5 Video on Instagram as alleged in the preceding paragraph, four still images from the
                                                                                      6 Super-Bloom Shoot were also posted on this same Porch House-related public
                                                                                      7 Instagram account. One such still image is a close-up of Sumida in the driver’s seat of
                                                                                      8 the 2019 S60 Sedan. Another such still image depicts Sumida leaning against the
                                                                                      9 2019 S60 Sedan, with her right hand positioned just above the prominently displayed
                                                                                    10 famous circular Volvo logo. The text adjacent to each such image reads as follows:
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                                                                                    11               Here is ‘Bloom’.      We recently spent the day with
                                                                                    12               @jackschroedercreative & @britni_nicolee and the new
                                                                                                     #Volvo S60. Swipe to see some of Jack’s stills.
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                                                                                    13
                                                                                    14 Upon information and belief, each such still image was photographed by Schroeder
                                                                                    15 during the Super-Bloom Shoot, Schroeder is the “author” of each such image, and
                                                                                    16 Schroeder is the copyright owner of each such image. Upon information and belief,
                                                                                    17 each of the foregoing still images was posted on this public Instagram account with
                                                                                    18 the knowledge, consent and/or authorization of Schroeder and Sumida, and/or at their
                                                                                    19 direction. Upon information and belief, neither Schroeder nor Sumida ever objected
                                                                                    20 to the foregoing Instagram posts. To the contrary both Schroeder and Sumida “liked”
                                                                                    21 these posts, thus signaling to members of the public and their prospective business
                                                                                    22 relations in the automotive industry, albeit falsely, that they had been hired by Volvo
                                                                                    23 to create a social campaign for the new 2019 S60 Sedan. Upon information and
                                                                                    24 belief, Schroeder and Sumida acted in this manner for their own personal gain to
                                                                                    25 capitalize on the attention and publicity surrounding Volvo’s introduction of its
                                                                                    26 redesigned 2019 S60 Sedan.
                                                                                    27         25.   On or about July 8, 2019, Porch House publicly posted on Instagram the
                                                                                    28
                                                                                                                                – 23 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1 photograph from the Super-Bloom Shoot with Sumida leaning against the 2019 S60
                                                                                      2 Sedan, with her right hand positioned just above the prominently displayed famous
                                                                                      3 circular Volvo logo. The text adjacent to that image read as follows:
                                                                                      4
                                                                                                     Introducing a new member of the PH family,
                                                                                      5              @jackschroedercreative. Hailing from Indiana he’s a rad
                                                                                      6              photographer who’s traveled all around to capture insane
                                                                                                     imagery for a wide variety of clients. He specializes in
                                                                                      7              automotive, and we’re stoked to start releasing some of the
                                                                                      8              projects we’ve been collaborating on. Check back soon to see
                                                                                                     more from Jack in the near future.
                                                                                      9
                                                                                                     #PorchHouse #JackSchroeder #Creative #Bts #Production
                                                                                    10               #photography #best”
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                                                                                    11
                                                                                    12 The foregoing Instagram post also tagged “Volvocars,” “JackSchroederCreative,” and
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                                                                                    13 “Britni_Nicolee.”     Upon information and belief, “Britni_Nicolee” is Sumida’s
                                                                                    14 Instagram handle. Upon information and belief, the foregoing still image was posted
                                                                                    15 on this public Instagram account with the knowledge, consent and/or authorization of
                                                                                    16 Schroeder and Sumida, and/or at their direction. Upon information and belief, neither
                                                                                    17 Schroeder nor Sumida ever objected to the foregoing Instagram post.              Upon
                                                                                    18 information and belief, both Schroeder and Sumida intended for this post to signal to
                                                                                    19 members of the public and their prospective business relations in the automotive
                                                                                    20 industry, albeit falsely, that they had been hired by Volvo to create a social campaign
                                                                                    21 for the new 2019 S60 Sedan. Upon information and belief, Schroeder and Sumida
                                                                                    22 acted in this manner for their own personal gain to capitalize on the attention and
                                                                                    23 publicity surrounding Volvo’s introduction of its redesigned 2019 S60 Sedan.
                                                                                    24         26.   On July 16, 2019, Porch House created a public Behance.net Gallery
                                                                                    25 entitled “Volvo – Bloom” (“Behance Gallery”). The Behance Gallery displayed the
                                                                                    26 Volvo – Bloom Video and several still photographs from the Super Bloom Shoot of
                                                                                    27 Sumida posing with the Volvo S60 and. Upon information and belief, the Behance
                                                                                    28
                                                                                                                                – 24 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1 Gallery was posted with the knowledge, consent and/or authorization of Schroeder
                                                                                      2 and Sumida. The first such photo displayed in the Behance Gallery which, upon
                                                                                      3 information and belief, was captured by Schroeder, falsely represents to the public that
                                                                                      4 Volvo is the source and/or origin of the Volvo – Bloom Video and/or engaged
                                                                                      5 Schroeder and Sumida to advertise the Volvo S60, as follows:
                                                                                      6
                                                                                      7
                                                                                      8
                                                                                      9
                                                                                    10
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                                                                                    11
                                                                                    12
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                                                                                    13
                                                                                    14
                                                                                    15
                                                                                    16
                                                                                    17
                                                                                    18             27.   The false impression conveyed in the image above (i.e., that Volvo is the
                                                                                    19 source and/or origin of the Volvo – Bloom Video and/or engaged Schroeder and
                                                                                    20 Sumida to advertise the Volvo S60) is amplified in the description that appears
                                                                                    21 directly beneath it, as follows:
                                                                                    22                   ‘Bloom’ is an integrated production from Porch House in
                                                                                    23                   collaboration with photographer Jack Schroeder. We took
                                                                                                         full advantage of the beautiful super-bloom and took the new
                                                                                    24                   S60 out for it’s [sic] debut.
                                                                                    25
                                                                                                         Enjoy this short film and photo set with model Britni Sumida
                                                                                    26                   for Volvo Cars™.
                                                                                    27                   -Porch House2
                                                                                          2
                                                                                    28        Emphasis added.
                                                                                                                                    – 25 –
                                                                                              DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                               COUNTERCLAIM
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                                                                                      1            28.   Even more egregiously, the Behance Gallery falsely represented that
                                                                                      2 Volvo sponsored, endorsed and/or was the source or origin of the images depicted
                                                                                      3 therein, and that the images Schroeder took of Sumida were being used commercially
                                                                                      4 by Volvo to advertise its redesigned 2019 S60 Sedan in two respects. First, the
                                                                                      5 Behance Gallery stated:
                                                                                      6                  This is a social campaign for Volvo Cars. We took to
                                                                                      7                  California’s ‘Super-Bloom’ to experience it for ourselves…
                                                                                      8 Second, the Behance Gallery displayed the following “credits”:
                                                                                      9
                                                                                                         Photographer: Jack Schroeder
                                                                                    10                   Production: Porch House
                                                                                                         …
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                                                                                    11
                                                                                                         Model: Britni Sumida
                                                                                    12                   Car: 2019 Volvo S60
                                                                                                         Client: Volvo3
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                                                                                    13
                                                                                    14 Upon information and belief, neither Schroeder nor Sumida ever objected to the
                                                                                    15 foregoing images or representations in the Behance Gallery. To the contrary, upon
                                                                                    16 information and belief, both Schroeder and Sumida approved of and/or caused these
                                                                                    17 images to be published to signal to members of the public and their prospective
                                                                                    18 business relations in the automotive industry, albeit falsely, that they had been hired
                                                                                    19 by Volvo to create a social campaign for the new 2019 S60 Sedan. Upon information
                                                                                    20 and belief, Schroeder and Sumida acted in this manner for their own personal gain to
                                                                                    21 capitalize on the attention and publicity surrounding Volvo’s introduction of its
                                                                                    22 redesigned 2019 S60 Sedan.
                                                                                    23             29.   On or about November 12, 2019, Schroeder created a new Behance
                                                                                    24 gallery which, upon information and belief, featured images from the Super-Bloom
                                                                                    25 Shoot of Sumida posing with the Volvo S60 Sedan. Schroeder tagged Volvo, and
                                                                                    26 Volvo S60 in the gallery and, thus, anybody searching for these terms on Behance
                                                                                    27
                                                                                          3
                                                                                    28        Emphasis added.
                                                                                                                                   – 26 –
                                                                                              DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                               COUNTERCLAIM
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                                                                                      1 would discover Schroeder’s gallery. Upon information and belief, this gallery was
                                                                                      2 posted with the knowledge, consent and/or authorization of Sumida and/or at her
                                                                                      3 direction.
                                                                                      4        30.   Upon information and belief, on or about November 19, 2019, Schroeder
                                                                                      5 posted 11 photographs from the Super-Bloom Shoot on his public Instagram page and
                                                                                      6 tagged Volvo in the post. That same day, Volvo re-shared these photographs on its
                                                                                      7 Instagram Story and credited Schroeder as being the photographer. Upon information
                                                                                      8 and belief, Schroeder saw Volvo’s story, “liked” it, and sent a direct message to Volvo
                                                                                      9 which said “Love it.”
                                                                                    10         31.   Upon information and belief, at some point after November 19, 2019,
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                                                                                    11 Schroeder deleted all posts and photographs related to the Super-Bloom Shoot from
                                                                                    12 his public Instagram account, including without limitation the 11 photographs
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                                                                                    13 identified in paragraph 30, above.
                                                                                    14
                                                                                    15                              FIRST COUNTER-CLAIM
                                                                                    16           (Direct Trademark Infringement against Schroeder and Sumida)
                                                                                    17         32.   Volvo hereby incorporates the allegations in paragraphs 1-31, above, as if
                                                                                    18 fully set forth herein.
                                                                                    19         33.   As alleged above, the Super-Bloom Shoot still and video images
                                                                                    20 identified above in paragraphs 21-30 depicting (a) Sumida with the 2019 S60 Sedan,
                                                                                    21 and (b) Volvo’s registered trademarks and logos (collectively, including the related
                                                                                    22 descriptions, representations, statements and “credits” posted therewith, the
                                                                                    23 “Infringing Posts”) were published on public Vimeo, Behance and Instagram either (i)
                                                                                    24 by Schroeder (in all such cases with Sumida’s consent and/or approval) or (ii) by
                                                                                    25 Porch House as directed by Schroeder and/or Sumida and/or with their consent and/or
                                                                                    26 approval.
                                                                                    27         34.   The Infringing Posts included, and prominently displayed and featured,
                                                                                    28
                                                                                                                                – 27 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1 Volvo’s name, Volvo’s distinct, trademark-protected logo, and a motor vehicle that
                                                                                      2 bears unique design features immediately identifiable with Volvo’s brand and line of
                                                                                      3 automotive products. As alleged above, because the Infringing Posts tagged Volvo,
                                                                                      4 Schroeder and Sumida, anyone searching for Volvo, Schroeder and/or Sumida would
                                                                                      5 be able to find these photographs and videos.
                                                                                      6        35.   These unauthorized commercial uses of the Volvo name, trademarks and
                                                                                      7 2019 S60 Sedan reflected in the Infringing Posts constitute misrepresentations as to
                                                                                      8 source, origin, endorsement and sponsorship of the Volvo – Bloom Video and the
                                                                                      9 Super Bloom Shoot photographs.         The Infringing Posts also misrepresented to
                                                                                    10 consumers and the automotive industry that Volvo had engaged Schroeder and/or
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                                                                                    11 Sumida to conduct the Super-Bloom Shoot and had authorized Schroeder and/or
                                                                                    12 Sumida to commercially exploit the images therefrom as part of a social media
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                                                                                    13 advertising campaign for the 2019 Volvo S60 Sedan.            The foregoing constitutes
                                                                                    14 trademark infringement in violation of Sections 32(1)(1) and 43(a)(1)(A) of the
                                                                                    15 Lanham Act. See 15 U.S.C §§ 1114(1), 1125(a)(1).
                                                                                    16         36.   The foregoing misrepresentations were willful and wanton. As alleged
                                                                                    17 herein above, Schroeder and Sumida were aware that Volvo did not, create, produce,
                                                                                    18 finance, authorize or in any other way participate in the making of the Volvo – Bloom
                                                                                    19 Video or the Super Bloom Shoot.          Upon information and belief, Schroeder and
                                                                                    20 Sumida made the foregoing willful misrepresentations because they were aware that
                                                                                    21 the debut of the 2019 Volvo S60 had generated and would continue to generate
                                                                                    22 significant publicity and believed they could further their respective careers and attract
                                                                                    23 the attention of other automobile brands by creating the impression that Volvo had
                                                                                    24 hired them to develop a social media advertising campaign to coincide with the arrival
                                                                                    25 of Volvo’s latest redesigned vehicle.
                                                                                    26
                                                                                    27
                                                                                    28
                                                                                                                                 – 28 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1
                                                                                      2                                 SECOND COUNTER-CLAIM
                                                                                      3       (Contributory Trademark Infringement against Schroeder and Sumida)
                                                                                      4        37.    Volvo hereby incorporates the allegations in paragraphs 1-31 and 33-36
                                                                                      5 as if fully set forth herein.
                                                                                      6        38.    As alleged herein above, the Infringing Posts were published on public
                                                                                      7 Vimeo, Behance and Instagram either by Schroeder (in all such cases with Sumida’s
                                                                                      8 consent and/or approval) or by Porch House as directed by Schroeder and/or Sumida
                                                                                      9 and/or with their consent and/or approval.
                                                                                    10         39.    The Infringing Posts included, and prominently displayed and featured,
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                                                                                    11 Volvo’s name, and Volvo’s distinct, trademark-protected logo, and a motor vehicle
                                                                                    12 that bears unique design features immediately identifiable with Volvo’s brand and line
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                                                                                    13 of automotive products. As alleged above, because the Infringing Posts tagged Volvo,
                                                                                    14 Schroeder and Sumida, anyone searching for Volvo, Schroeder and/or Sumida would
                                                                                    15 be able to find these photographs and videos.
                                                                                    16         40.    These unauthorized commercial uses of the Volvo name, trademarks and
                                                                                    17 2019 S60 Sedan reflected in the Infringing Posts constitute misrepresentations as to
                                                                                    18 source, origin, endorsement and sponsorship of the Volvo – Bloom Video and the
                                                                                    19 Super Bloom Shoot photographs.          The Infringing Posts also misrepresented to
                                                                                    20 consumers and the automotive industry that Volvo had engaged Schroeder and/or
                                                                                    21 Sumida to conduct the Super-Bloom Shoot and had authorized Schroeder and/or
                                                                                    22 Sumida to commercially exploit the images therefrom as part of a social media
                                                                                    23 advertising campaign for the 2019 Volvo S60 Sedan.          The foregoing constitutes
                                                                                    24 trademark infringement in violation of Sections 32(1)(1) and 43(a)(1)(A) of the
                                                                                    25 Lanham Act. See 15 U.S.C §§ 1114(1), 1125(a)(1).
                                                                                    26         41.    Schroeder is jointly and severally liable for such acts of infringement
                                                                                    27 because he either intentionally induced Porch House to make these posts, or he
                                                                                    28
                                                                                                                                – 29 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
                                                                                   Case 2:20-cv-05127-FLA-PVC Document 31 Filed 09/30/20 Page 31 of 36 Page ID #:516



                                                                                      1 continued to allow Porch House to publish and use the Volvo – Bloom Video and the
                                                                                      2 photographs from the Super Bloom Shoot, despite the fact that he knew that such
                                                                                      3 publications falsely represented to Volvo’s current and prospective customers,
                                                                                      4 Volvo’s competitors and others in the automotive industry that Volvo was source or
                                                                                      5 origin and/or endorsed or sponsored the Volvo – Bloom Video and the Super Bloom
                                                                                      6 Shoot photographs.
                                                                                      7        42.   Sumida is jointly and severally liable for such acts of infringement
                                                                                      8 because she either intentionally induced Schroeder and/or Porch House to make these
                                                                                      9 posts, or she continued to allow Schroeder and/or Porch House to publish and use the
                                                                                    10 Volvo – Bloom Video and the photographs from the Super Bloom Shoot, despite the
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                                                                                    11 fact that she knew that such publications falsely represented to Volvo’s current and
                                                                                    12 prospective customers, Volvo’s competitors and others in the automotive industry that
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                                                                                    13 Volvo was source or origin and/or endorsed or sponsored the Volvo – Bloom Video
                                                                                    14 and the Super Bloom Shoot photographs.
                                                                                    15         43.   Upon information and belief, both Schroeder and Sumida could have
                                                                                    16 prevented but chose not to prevent the foregoing acts of infringement and
                                                                                    17 misrepresentations.
                                                                                    18         44.   The foregoing misrepresentations were willful and wanton. As alleged
                                                                                    19 herein above, Schroeder and Sumida were aware that Volvo did not, create, produce,
                                                                                    20 finance, authorize or in any other way participate in the making of the Volvo – Bloom
                                                                                    21 Video or the Super Bloom Shoot.        Upon information and belief, the foregoing
                                                                                    22 misrepresentations were willful because Schroeder and Sumida were aware that the
                                                                                    23 debut of the 2019 Volvo S60 had generated and would continue to generate significant
                                                                                    24 publicity and believed they could further their respective careers and attract the
                                                                                    25 attention of other automobile brands by creating the impression that Volvo had hired
                                                                                    26 them to develop a social media advertising campaign to coincide with the arrival of
                                                                                    27 Volvo’s latest redesigned vehicle.
                                                                                    28
                                                                                                                               – 30 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1
                                                                                      2                               THIRD COUNTER-CLAIM
                                                                                      3         (Vicarious Trademark Infringement against Schroeder and Sumida)
                                                                                      4        45.    Volvo hereby incorporates the allegations in paragraphs 1-31, 32-36 and
                                                                                      5 38-44 as if fully set forth herein.
                                                                                      6        46.    Upon information and belief, Sumida, Schroeder, and Porch House, were
                                                                                      7 partners, joint venturers, or agents/employees of each other, and/or were acting in
                                                                                      8 concert with each other with respect to the Super Bloom Shoot. Upon information
                                                                                      9 and belief, in doing the acts alleged above, Sumida, Schroeder, and Porch House were
                                                                                    10 acting within the scope of such partnership, joint venture, or agency. At all relevant
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                                                                                    11 times herein, Sumida, Schroeder, and Porch House had actual or ostensible authority
                                                                                    12 to act on each other’s behalf in engaging in the conduct alleged above.
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                                                                                    13         47.    Because Schroeder, Sumida, and Porch House were partners and/or joint
                                                                                    14 venturers, they are vicariously liable for each others’ willful and wanton violations of
                                                                                    15 Sections 32(1) and 43(a)(1)(A) of the Lanham Act.
                                                                                    16
                                                                                    17                               FOURTH COUNTER-CLAIM
                                                                                    18               (Direct Trademark Dilution against Schroeder and Sumida)
                                                                                    19         48.    Volvo incorporates by reference paragraphs 1-47 of its Counterclaim as if
                                                                                    20 set forth in full in this Counter-Claim for Relief.
                                                                                    21         49.    Volvo works closely with a carefully selected group of advertising
                                                                                    22 agencies and other professionals in the United States to develop marketing campaigns
                                                                                    23 and messaging that accentuate and promote the safety, styling, performance, and
                                                                                    24 lifestyle features of Volvo’s automobiles. Over the course of the past several years,
                                                                                    25 Volvo has increasingly used social media strategically to build brand awareness,
                                                                                    26 launch sales events and introduce new designs in a manner consistent with Volvo’s
                                                                                    27 traditions and values.
                                                                                    28
                                                                                                                                 – 31 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1        50.    The Vimeo, Instagram and Behance posts described above diluted
                                                                                      2 Volvo’s famous, distinctive marks in violation of 15 U.S.C. 1125(c) by appropriating
                                                                                      3 the substantial investment Volvo made in its marks.
                                                                                      4
                                                                                      5                               FIFTH COUNTER-CLAIM
                                                                                      6         (Contributory Trademark Dilution against Schroeder and Sumida)
                                                                                      7        51.    Volvo hereby incorporates the allegations in paragraphs 1-31, 32-36, 38-
                                                                                      8 44, 46-47 and 49- 50 as if fully set forth herein.
                                                                                      9        52.    Volvo works closely with a carefully selected group of advertising
                                                                                    10 agencies and other professionals in the United States to develop marketing campaigns
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                                                                                    11 and messaging that accentuate and promote the safety, styling, performance and
                                                                                    12 lifestyle features of Volvo’s automobiles. Over the course of the past several years,
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                                                                                    13 Volvo has increasingly used social media strategically to build brand awareness,
                                                                                    14 launch sales events and introduce new designs in a manner consistent with Volvo’s
                                                                                    15 traditions and values.
                                                                                    16         53.    The Vimeo, Instagram, and Behance posts described above diluted
                                                                                    17 Volvo’s famous, distinctive marks in violation of 15 U.S.C. 1125(c) by appropriating
                                                                                    18 the substantial investment Volvo made in its marks.
                                                                                    19         54.    Schroeder is jointly and severally liable for this trademark dilution
                                                                                    20 because he either intentionally induced Porch House to make these posts, or he
                                                                                    21 continued to allow Porch House to publish and use the Volvo – Bloom Video and the
                                                                                    22 photographs from the Super Bloom Shoot, despite the fact that he knew that Porch
                                                                                    23 House was making these misrepresentations as to source, origin, endorsement and
                                                                                    24 sponsorship of the Volvo – Bloom Video and the Super Bloom Shoot photographs.
                                                                                    25         55.    Sumida is jointly and severally liable for this trademark dilution because
                                                                                    26 she either intentionally induced Porch House and/or Schroeder to make these posts, or
                                                                                    27 she continued to allow Porch House and/or Schroeder to publish and use the Volvo –
                                                                                    28
                                                                                                                                  – 32 –
                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
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                                                                                      1 Bloom Video and the photographs from the Super Bloom Shoot, despite the fact that
                                                                                      2 she knew that Porch House and/or Schroeder was making these misrepresentations as
                                                                                      3 to source, origin, endorsement and sponsorship of the Volvo – Bloom Video and the
                                                                                      4 Super Bloom Shoot photographs.
                                                                                      5        56.     Upon information and belief, both Schroeder and Sumida could have
                                                                                      6 prevented but chose not to prevent the foregoing acts of infringement and
                                                                                      7 misrepresentations.
                                                                                      8
                                                                                      9                               SIXTH COUNTER-CLAIM
                                                                                    10               (Vicarious Trademark Dilution against Schroeder and Sumida)
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                                                                                    11         57.     Volvo hereby incorporates the allegations in paragraphs 1-31, 32-36, 38-
                                                                                    12 44, 46-47, 49- 50 and 52-56 as if fully set forth herein.
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                                                                                    13         58.     Upon information and belief, Sumida, Schroeder, and Porch House were
                                                                                    14 partners, joint venturers, or agents/employees of each other, and/or were acting in
                                                                                    15 concert with each other with respect to the Super Bloom Shoot. Upon information
                                                                                    16 and belief, in doing the acts alleged above, Sumida, Schroeder and Porch House were
                                                                                    17 acting within the scope of such partnership, joint venture, or agency. At all relevant
                                                                                    18 times herein, Sumida, Schroeder, and Porch House had actual or ostensible authority
                                                                                    19 to act on each other’s behalf in engaging in the conduct alleged above.
                                                                                    20         59.     Because Schroeder, Sumida, and Porch House were partners and/or joint
                                                                                    21 venturers, they are vicariously liable for each other’s willful and wanton violations of
                                                                                    22 15 U.S.C. 1125(c).
                                                                                    23
                                                                                    24                                          PRAYER
                                                                                    25         WHEREFORE, Volvo prays for judgement against Sumida and Schroeder as
                                                                                    26 follows:
                                                                                    27         1.      That Volvo is awarded either statutory damages or its actual damages,
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                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
                                                                                   Case 2:20-cv-05127-FLA-PVC Document 31 Filed 09/30/20 Page 35 of 36 Page ID #:520



                                                                                      1 including future damages, that Volvo has sustained, or will sustain, due to Sumida and
                                                                                      2 Schroeder’s wrongful conduct;
                                                                                      3        2.    That Volvo is awarded its costs and expenses in this Counterclaim;
                                                                                      4        3.    That Volvo is awarded its attorneys’ fees;
                                                                                      5        4.    For an injunction prohibiting Defendants from falsely representing to the
                                                                                      6 public that they were hired to create advertisements for Volvo;
                                                                                      7        5.    For disgorgement of all proceeds, and moneys wrongfully received by
                                                                                      8 Sumida and Schroeder as a result of their wrongful conduct; and
                                                                                      9        6.    For further relief as the Court may deem appropriate.
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                 A limited liability partnership formed in the State of Delaware




                                                                                    11 DATED: September 30, 2020               REED SMITH LLP
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REED SMITH LLP




                                                                                    13                                         By: /s/ Harrison J. Dossick__________
                                                                                                                                  Harrison J. Dossick
                                                                                    14                                            Jonathan D. Gershon
                                                                                                                                  Attorneys for Defendant
                                                                                    15                                            Volvo Car USA LLC
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                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
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                                                                                      1                            DEMAND FOR JURY TRIAL
                                                                                      2        Counter-Claimant Volvo Cars USA, LLC hereby demands a jury trial on all
                                                                                      3 counter-claims and issues triable by a jury.
                                                                                      4
                                                                                      5 DATED: September 30, 2020              REED SMITH LLP
                                                                                      6
                                                                                      7                                        By: /s/ Harrison J. Dossick__________
                                                                                                                                  Harrison J. Dossick
                                                                                      8                                           Jonathan D. Gershon
                                                                                                                                  Attorneys for Defendant
                                                                                      9                                           Volvo Car USA LLC
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                 A limited liability partnership formed in the State of Delaware




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REED SMITH LLP




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                                                                                          DEFENDANT VOLVO CAR USA LLC’S ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT AND
                                                                                                                           COUNTERCLAIM
